                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                     AT CHATTANOOGA

 UNITED STATES OF AMERICA                              )
                                                       )       Case No. 1:15-cr-91-TRM-SKL
 v.                                                    )
                                                       )
 JOSHUA CARVER                                         )


                              REPORT AND RECOMMENDATION

        Pursuant to 28 U.S.C. § 636(b), I conducted a plea hearing in this case on January 10, 2017.

 At the hearing, defendant moved to withdraw his not guilty plea to Count One of the thirty-two-

 count Indictment and entered a plea of guilty to the lesser included offense of the charge in Count

 One, that is of conspiracy to distribute and possess with intent to distribute five grams or more of

 methamphetamine (actual) and fifty grams or more of a mixture and substance containing

 methamphetamine, a Schedule II controlled substance, in violation of 21 U.S.C. §§ 846, 841(a)(1),

 and 841(b)(1)(B) in exchange for the undertakings made by the government in the written plea

 agreement. On the basis of the record made at the hearing, I find the defendant is fully capable and

 competent to enter an informed plea; the plea is made knowingly and with full understanding of each

 of the rights waived by defendant; the plea is made voluntarily and free from any force, threats, or

 promises, apart from the promises in the plea agreement; the defendant understands the nature of

 the charge and penalties provided by law; and the plea has a sufficient basis in fact.

        Therefore, I RECOMMEND defendant’s motion to withdraw his not guilty plea to Count

 One of the Indictment be granted, his plea of guilty to the lesser included offense of the charge in

 Count One of the Indictment, that is of conspiracy to distribute and possess with intent to distribute

 five grams or more of methamphetamine (actual) and fifty grams or more of a mixture and substance

 containing methamphetamine, a Schedule II controlled substance, in violation of 21 U.S.C. §§ 846,



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 841(a)(1), and 841(b)(1)(B) accepted, the Court adjudicate defendant guilty of the lesser included

 offense of the charge in Count One of the Indictment, that is of conspiracy to distribute and possess

 with intent to distribute five grams or more of methamphetamine (actual) and fifty grams or more

 of a mixture and substance containing methamphetamine, a Schedule II controlled substance, in

 violation of 21 U.S.C. §§ 846, 841(a)(1), and 841(b)(1)(B), and a decision on whether to accept the

 plea agreement be deferred until sentencing. I further RECOMMEND defendant remain in custody

 until sentencing in this matter. Acceptance of the plea, adjudication of guilt, acceptance of the plea

 agreement, and imposition of sentence are specifically reserved for the district judge.


                                                s/ fâátÇ ^A _xx
                                                SUSAN K. LEE
                                                UNITED STATES MAGISTRATE JUDGE



                                       NOTICE TO PARTIES

          You have the right to de novo review of the foregoing findings by the district judge. Any
 application for review must be in writing, must specify the portions of the findings or proceedings
 objected to, and must be filed and served no later than fourteen days after the plea hearing. Failure
 to file objections within fourteen days constitutes a waiver of any further right to challenge the plea
 of guilty in this matter. See 28 U.S.C. §636(b).




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